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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

        v.                                                Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.


                       PLAINTIFF’S RESPONSE TO
           DEFENDANTS’ REQUEST FOR EXPARTE CONSIDERATION
         OF THEIR MOTION FOR TEMPORARY STAY OF ENFORCEMENT

       Defendants’ Request for Ex Parte Consideration of their Motion for a Temporary Stay of

Enforcement (ECF No. 304, and erroneously filed a second time at ECF No. 305) should be

denied as moot. On June 30, 2020, during the pendency of this motion, Defendants also moved

the Circuit Court of Appeals (Case 20-1581, Doc. #00117608453) for a temporary stay of this

Court’s Final Judgment pending this Court’s decision on their Motion to Stay (ECF No. 301).

The Circuit Court stayed this Court’s final judgment “until such time as the district court has

ruled on the motion for stay of enforcement of the judgment pending before it.” The Circuit

Court expressed “no view as to the merits of the pending motion….” The Commission’s

Opposition to Defendants’ Motion to Stay Enforcement of Final Judgment (ECF No. 301) will

be filed on Monday, July 6, 2020, in accordance with Local Rule 7.1(b)(2).

       Accordingly, Defendants’ Motions (ECF No. 304 & 305) should be denied as moot.
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                                              Respectfully submitted,

                                              SECURITIES AND EXCHANGE COMMISSION
                                              By its attorneys,

                                              /s/ Marc Jones
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Dated: July 2, 2020


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on July 2, 2020, through the ECF system and
will be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as
of the date of this filing.
                                                /s/ Marc Jones
                                                Marc Jones

Dated: July 2, 2020




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